 Case 8:20-cv-02118-VEB Document 27 Filed 11/09/21 Page 1 of 1 Page ID #:1565




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7                         UNITED STATES DISTRICT COURT
8                        CENTRAL DISTRICT OF CALIFORNIA
9    CHRISTINA A.,                           )    No. 8:20-cv-02118 (VEB)
10                                           )
           Plaintiff,                        )    ORDER AWARDING EQUAL
11
                                             )    ACCESS TO JUSTICE ACT
12                  v.                       )    ATTORNEYS’ FEES AND COSTS
13                                           )
     KILOLO KIJAKAZI, Acting                 )
14   Commissioner of Social Security,        )
15                                           )
           Defendant.                        )
16
                                             )
17
18         Based upon the parties’ Stipulation:
19         IT IS ORDERED that the Commissioner shall pay attorneys’ fees and
20   expenses the amount of FOUR THOUSAND DOLLARS and NO CENTS
21   ($4,000.00), and costs under 28 U.S.C. § 1920 in the amount of ZERO DOLLARS
22   ($0.00), as authorized by 28 U.S.C. §§ 2412(d), 1920, subject to the terms of the
23   Stipulation.
24
25         Dated: November 9, 2021         /s/Victor E. Bianchini
                                           VICTOR E. BIANCHINI
26                                         UNITED STATES MAGISTRATE JUDGE
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